                   UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION
                          5:20-CR-00132-D-2




· UNITED STATES OF AMERICA

      V.                                                ORDER

 ROBERT LEE BEST




       THIS CAUSE came on to be heard and was heard upon the Defendant's

Proposed Sealed Motion, which is docket entry number 107. The Court is of the

opinion that this motion and its corresponding Order should be filed under seal

in the interest of justice.

       IT IS, THEREFORE ORDERED that the requested documents to be

sealed and be filed under seal.

       This t h e ~ - day of      Dr±r>b..u..   2021.




                     THEHONORABLE JAMES C. DEVER III
                     UNITED STATES DISTRICT COURT JUDGE




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